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IN THE UNITED sTATEs DIsTRIcT coURT =_F\LED B"' '~"'D'c`
FoR THE wEsTERN nIsTRIcT oF TENNESSEE

 

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gm 'M.L“i`)`U`ID

BELTANA TRANsPoRT, and _&HKAEYHW§§U§HT
BRUCE E. PoND, ngfmjawh

Plaintiffs,

v.
No. 05-2031 Ml/P
ANDREW oBERLE and BELTANA
TRANsPoRT, LLc,

Defendants.

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ORDER TO SHOW CAUSE

 

Before the Court is Plaintiffs' Motion for Clarification,
filed July 1, 2005. On March 22, 2005, the Court granted
Plaintiffs' motion to remand this case to the Chancery Court of
Shelby County and for attorney'e fees and costs related to the
motion to remand. Documents submitted along with Plaintiffs'
motion indicate that Plaintiffe' attempts to reach an agreement
with Defendants regarding the amount of attorney’s fees due under
the Court's order have been unsuccessful. Accordingly, Defendants
are hereby ORDERED to SHOW CAUSE within ten (lO) days from the date
of entry of this order why the Court should not award to Plaintiffs

attorney'e fees in the amount of $5,480.75 and costs of $190, plus

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with Hu!e 58 and/or 79(a) FRCP nn ‘i"L ij 5 53

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an additional amount for costs and attorney’s fees in connection

with the instant motion.l
so oRDERED this /S day of July, 2005.

...QWQQO.

JO P. MCCALLA
U ITED STATES DISTRICT JUDGE

 

 

1 To comply with this Order, Defendants must file a written
response to Plaintiffs’ motion.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CV-02031 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

ESSEE

 

Monroe S. David

DAV]D LAW FIRM
7204 Skidmore Cove
1\/1emphis7 TN 38119--890

Patrick B. Mason

THE MASON LAW FIRM, P.C.
4715 Spottswood Ave.
1\/1emphis7 TN 38117--481

.1 immy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

1\/1emphis7 TN 38103

Daniel C. Shumake

THE MASON LAW FIRM
4715 Spottswood Aveune
1\/1emphis7 TN 38117

Honorable .1 on McCalla
US DISTRICT COURT

